 Case 2:25-cv-01429-CV-ADS                 Document 8 Filed 02/20/25                   Page 1 of 1 Page ID
                                                 #:246
                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                                             CASE NUMBER:


PEPPERDINE UNIVERSITY                                            2:25−cv−01429−CV−ADS
                                            PLAINTIFF(S)

      v.
NETFLIX INC , et al.

                                                                  NOTICE TO FILER OF DEFICIENCIES IN
                                         DEFENDANT(S).
                                                                  REQUEST FOR ISSUANCE OF SUMMONS




PLEASE TAKE NOTICE:
The following problem(s) have been found with your electronically filed document:
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                                                             Clerk, U.S. District Court

                                                             By: /s/ Jeannine Tillman
Date: February 20, 2025                                      jeannine_tillman@cacd.uscourts.gov
                                                                Deputy Clerk



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      − NOTICE TO FILER OF DEFICIENCIES IN REQUEST FOR ISSUANCE OF SUMMONS −
